 

 

Case 6:17-cV-00278-.]A-KRS Document 15 Filed 03/08/17 Page 1 of 1 Page|D 446

UNITED STATES DlSTRiCT CouRT

NIiDDLE DisTRicT oF FLOR|DA
ORLANDO DivisloN

ABDULLAH RABBAT,
P|aintif'f,
v. Case No: 6:17-cv-278-0r[-28KRS

COV|NGTON SPECIALTV lNSURANCE
CON|PANV,

Defendant.

 

ORDER
in light of the fiiing of the Amended |V|otion to Dismiss (Doc. 14) With an amended
certificate of Service` it is ORDERED that the previous Motion to Dismiss (Doc. 7) is
DEN|ED as moot. P|aintitf Sha|| respond to the Arnended Motion to Dismiss (Doc. 14) no
later than N|arch 21, 2017.

DONE and ORDERED in Orlando, F|orida` on Nl:§irch _ ;\_" _ , 2017,

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JOHN ANTOON ||
United States District Judge

 

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Cc)pies furnished to:
Cc)unsel of Record
Unrepresented Parties

 

